Case 3:24-cr-00009-TJC-PDB Document 2 Filed 01/17/24 Page 1 of 2 PagelD 9

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
UNITED STATES OF AMERICA
v. CASE NO. 3:24-cr-G-TJC-PDP
NEIL METZGER

MOTION TO SEAL INDICTMENT
AND RELATED DOCUMENTS

Pursuant to Fed. R. Crim. P. 6(e)(4), and in the interests of law enforcement,
the United States of America by Roger B. Handberg, United States Attorney for the
Middle District of Florida, hereby moves the Court to direct the Clerk to seal the
Indictment, the file copy of the warrant(s), defendant information sheet(s), this
motion, the Court's order regarding this motion and any other documents filed in
this case that would identify the defendant(s). Disclosure of the existence of these
documents prior to the arrest of a defendant could hinder or impede arrest efforts.

The United States further moves that the Court direct the Clerk to seal the
Indictment in this case except when necessary to provide certified copies of the
Indictment to the United States Attorney's Office.

The United States further requests that the Court's Order allow the United
States Marshals Service to release certified copies of the arrest warrant to the case
agent or other appropriate law enforcement and/or to the United States Attorney's
Office, upon verbal request of the United States Attorney's Office to the United

States Marshals Service, without further order of the Court.
Case 3:24-cr-00009-TJC-PDB Document 2 Filed 01/17/24 Page 2 of 2 PagelD 10

The United States further requests that the Court’s Order allow the United
States Marshals Service or other appropriate law enforcement agency to enter the
arrest warrant into the National Crime Information Center (NCIC) database or other
appropriate law enforcement database, without further order of the Court.

The United States further requests that the Court's Order allow the United
States to disclose the existence of the Indictment in any subsequent search and/or
seizure warrants which may be executed in conjunction with the arrest of the
defendant(s).

The United States further moves that the Court direct the Clerk to unseal the
documents described herein without further order when any named defendant is
taken into custody.

Respectfully submitted,

ROGER B. HANDBERG

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By:

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